                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                  DOCKET NO. 3:01-CR-00031


 UNITED STATES OF AMERICA                           )
                                                    )
         vs.                                        )
                                                    )
 SHONE WILKES,                                      )                    ORDER
                                                    )
                 Defendant.                         )
                                                    )

       THIS MATTER comes before the Court upon Defendant’s “Motion to Compel Pursuant to

21 U.S.C. § 3553/Rule 35(b),” (Doc. No. 360); “Motion of Disposition pursuant to Motion to

Compel 3553(e)/Rule35(b),” (Doc. No. 361); and “Motion to Compel,” (Doc. No. 363).

       “[U]nless the government’s failure to file a substantial assistance motion is ‘based on an

unconstitutional motive’ . . . or is ‘not rationally related to any legitimate Government end,’ district

courts have no authority to review a prosecutor’s refusal to file a substantial assistance motion and

grant a remedy.” United States v. Butler, 272 F.3d 683, 686 (4th Cir. 2001) (quoting Wade v. United

States, 504 U.S. 181, 185-86 (1992)).

       Here, Defendant admits that the United States Attorney specifically informed him that it

would not be filing a motion to reduce his sentence for substantial assistance for three reasons: (1)

Defendant tried to withdraw his plea; (2) Defendant filed a petition pursuant to 28 U.S.C. § 2255 for

ineffective assistance of counsel; and (3) Defendant did not testify in any trial. Although Defendant

may have provided helpful information in a homicide investigation in Tennessee, the United States

Attorney’s office in the Western District of North Carolina was well-aware of that assistance and

deliberately determined that it did not rise to the level of substantial assistance to warrant a motion



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for a reduction in Defendant’s sentence. Defendant has failed to show this decision was based on

an unconstitutional motive or that it was not rationally related to any legitimate Government end.

Accordingly, Defendant’s motions are denied.

       IT IS, THEREFORE, ORDERED that Defendant’s Defendant’s “Motion to Compel Pursuant

to 21 U.S.C. § 3553/Rule 35(b),” (Doc. No. 360); “Motion of Disposition pursuant to Motion to

Compel 3553(e)/Rule35(b),” (Doc. No. 361); and “Motion to Compel,” (Doc. No. 363), are

DENIED.

       IT IS SO ORDERED.

                                                Signed: September 16, 2008




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